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                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                              Alexandria Division

          LEAGUE OF UNITED LATIN                                )
          AMERICAN CITIZENS - RICHMOND                          )
          REGION COUNCIL 4614, ELIUD                            )
          BONILLA, LUCIANIA FREEMAN, and                        )
          ABBY JO GEARHART,                                     )
                                                                )
                                       Plaintiffs,              )   Civil Action No. 1:18-cv-00423
                                                                )   (LO/IDD)
                            v.                                  )
                                                                )
          PUBLIC INTEREST LEGAL                                 )
          FOUNDATION                                            )
          and J. CHRISTIAN ADAMS,                               )
                                                                )
                                           Defendants.          )


                                DEFENDANTS’ FED. R. CIV. P. 26(a)(3) DISCLOSURES

                   Defendants, Public Interest Legal Foundation (“PILF”) and J. Christian Adams (“Mr.

        Adams”) (collectively, “Defendants”), by counsel, in accordance with Rule 26(a)(3) of the

        Federal Rules of Civil Procedure and the Court’s Scheduling Order entered on December 3, 2018

        (Dkt. 88), hereby provide the following information regarding evidence that they may present at

        trial other than solely for impeachment or rebuttal purposes.

        I.         WITNESSES
                           Pursuant to Fed R. Civ. P. 26(a)(3)(A)(i), Defendants expect to present the

        following witnesses at trial:

                           A.      Cameron Quinn, Former General Registrar, Fairfax County, at

                   Department of Homeland Security, 650 Massachusetts Avenue, N.W., Washington, D.C.

                   20001, regarding the experience of Fairfax County with efforts to ensure election

                   integrity;


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                          B.       Hans von Spakovsky, Former Fairfax County Electoral Board Member,

                   at The Heritage Foundation, 214 Massachusetts Avenue, N.E., Washington, D.C. 20002

                   regarding state and local guidelines concerning voter registration and voter roll

                   maintenance; the systems, processes, and documents used in maintaining and managing

                   voter registration information and other election data; and the experience of Fairfax

                   County with efforts to ensure election integrity;

                          C.       Clara Belle Wheeler, Former Vice Chairwoman of the Virginia State Board

                   of Elections, 1100 Bank Street, First Floor, Richmond, Virginia 23219, regarding the laws,

                   policies, and procedures governing Virginia elections; state and local guidelines concerning

                   voter registration and voter roll maintenance; the systems, processes, and documents used

                   in maintaining and managing voter registration information and other election data;

                   communications with Defendants and their representatives concerning the official records

                   requested and produced by Virginia election officials;

                          D.       Don Palmer, former Secretary of the Virginia State Board of Elections, at

                   Bipartisan Policy Center, 1225 Eye Street, N.W., Suite 1000, Washington, D.C. 20005,

                   regarding the laws, policies, and procedures governing Virginia elections; state and local

                   guidelines concerning voter registration and voter roll maintenance; the systems, processes,

                   and documents used in maintaining and managing voter registration information and other

                   election data

                          E.       Current and former officials at the Virginia Department of Elections, 1100

                   Bank Street, First Floor, Richmond, Virginia 23219—namely, Edgardo Cortés, Arielle

                   Schneider, Matthew Sears, and Chris Piper—regarding the laws, policies, and

                   procedures governing Virginia elections; state and local guidelines concerning voter



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                   registration and voter roll maintenance; the systems, processes, and documents used in

                   maintaining and managing voter registration information and other election data;

                   communications with Defendants and their representatives, VVA, and/or Reagan George

                   concerning the official records requested and produced by Virginia election officials;

                   communications with Defendants, VVA, and/or Reagan George concerning the Alien

                   Invasion Reports;

                          F.      Volunteers who assisted PILF in gathering data for use in the Reports,

                   namely Steven Albertson, at Skadden, Arps, Slate, Meagher & Flom LLP, 1440 New

                   York Avenue, N.W., Washington, D.C. 20005, Tel: 202-371-7112, Email:

                   steven.albertson@skadden.com, and Catherine Trauernicht, 7707 Crossover Drive

                   McLean, Virginia 22102 (Email: cwtrau@verizon.net);

                          G.      Public Interest Legal Foundation officers and employees who were

                   involved in the research, data collection, writing, publication, and promotion of the Alien

                   Invasion Reports; research, studies, analysis and public statements regarding the Reports,

                   non-citizen voting or voter fraud; communications with Virginia election officials

                   concerning the government records appended to the Alien Invasion Reports—namely, J.

                   Christian Adams, Noel Johnson, and Kaylan Phillips; and

                          H.      J. Kenneth Blackwell, International Foundation for Electoral Systems,

                   2011 Crystal Drive, Arlington, Virginia 22202, as an expert witness on the subjects

                   addressed in his expert report and as a fact witness regarding (1) his efforts to publicize the

                   Alien Invasion II report, as evidenced by Blackwell Deposition Exhibits 6, 7, 8, and 9

                   introduced by Plaintiffs’ counsel on May 7, 2019; (2) and his preparation of Blackwell

                   Deposition Exhibit 10 in response to defamatory statements about him that were published



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                   following his appointment to the Presidential Advisory Commission on Electoral

                   Integrity—as evidenced by, inter alia, the publication of the Brennan Center for Justice

                   graphic entitled “President Trump’s Four Horsemen of Voter Suppression” that was part

                   of Exhibit 42 to the Levitt deposition and the deposition testimony of Plaintiffs’ non-

                   testifying expert Justin Levitt (Levitt Tr. 160:3-161:8, 182:16-20).


        II.        WITNESS TESTIMONY BY DEPOSITION

                   Pursuant to Fed R. Civ. P. 26(a)(3)(A)(ii), Defendants expect to present the testimony of

        the following witnesses by deposition (designations attached as Exhibit 1):

                          A.      Justin M. Levitt witness;

                          B.      LULAC-Richmond President/Rule 30(b)(6) witness Vilma Seymour;

                          C.      Eliud Bonilla;

                          D.      Luciania Freeman;

                          E.      Abby Jo Gearhart;

                          F.      Jeanne Rosen;

                          G.      Edgardo Cortes, individually and in his capacity as Virginia Department

                   of Elections Rule 30(b)(6) witness;

                          H.      Virginia Department of Elections Rule 30(b)(6) witnesses Arielle

                   Schneider, Matt Sears, and Chris Piper; and

                          I.      Clara Belle Wheeler.


        III.       IDENTIFICATION OF DOCUMENTS OR OTHER EXHIBITS

                   Pursuant to Fed R. Civ. P. 26(a)(3)(A)(iii), Defendants expect to offer some or all of the

        exhibits identified on the list attached as Exhibit 2. In addition to the listed exhibits, Defendants

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        reserve the right to offer:

                        A.      any exhibit listed by Plaintiffs;

                        B.      any document that has not yet been produced by Plaintiffs or third parties;

                        C.      any demonstrative or summary exhibit based on trial evidence that
                                Defendants may determine to be useful to the Court or finder of fact;
                                and/or

                        D.      any excerpt from a larger exhibit that Defendants may determine to be
                                useful to the Court.



        Dated: May 17, 2019                     Respectfully submitted,

                                                PUBLIC INTEREST LEGAL FOUNDATION
                                                and J. CHRISTIAN ADAMS

                                                By /s/ Michael J. Lockerby
                                                        Counsel

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                                                Counsel for Defendants



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                                          CERTIFICATE OF SERVICE

                   I hereby certify that on May 17, 2019, I filed the foregoing DEFENDANTS’ FED. R. CIV.

        P. 26(a)(3) DISCLOSURES with the Court using the CM/ECF system, which will send a Notice

        of Electronic Filing to all counsel of record.




                                                                      /s/ Michael J. Lockerby
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